                        UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION-DETROIT


IN RE: John Burchfield
       Elizabeth Burchfield
                                                             CHAPTER 13
                                                             CASE NO. 18-41345
                                                             JUDGE SHEFFELRY
                        Debtor(s).
_______________________________________/

                                ORDER CONFIRMING PLAN

       The Debtor(s)’ Chapter 13 plan was duly served on all parties in interest. A hearing on
confirmation of the plan was held after due notice to parties in interest. Objections, if any, have
been resolved. The Court hereby finds that each of the requirements for confirmation of a Chapter
13 plan pursuant to 11 USC §1325(a) are met.


      Therefore, IT IS HEREBY ORDERED that the Debtor(s)’ Chapter 13 plan, as last
amended, if at all, is confirmed.


       IT IS FURTHER ORDERED that the claim of Daniela Dimovski, Attorney at Law, P.C.,
Attorney for the Debtor(s), for the allowance of compensation and reimbursement of expenses is
allowed in the total amount of $3500.00, in fees and $0.00 in expenses, and that the portion of such
claim which has not already been paid, to-wit: $ 2500.00 shall be paid by the Trustee as an
administrative expense of this case.


        IT IS FURTHER ORDERED that the Debtor(s) shall maintain all policies of insurance on
all property of the Debtor(s) and this estate as required by law and contract.


       All filed claims to which an objection has not been filed are deemed allowed pursuant to 11
USC §502(a), and the Trustee is therefore ORDERED to make distributions on these claims
pursuant to the terms of the Chapter 13 plan, as well as all fees due the Clerk pursuant to statute.

       IT IS FURTHER ORDERED as follows: [Only provisions checked below apply]

                    Debtors shall pay Financial Plus Credit union direct and pursuant to the
                     terms of their contract on the 2014 Cadillac ATS, the 2004 Four Winns
                     288boat, the 2014 Ford F150 and the 2015 Avenger as all these obligations




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                     are current as of today, May 18, 2018. As such, The Trustee shall not pay
                     any arrears as stated on the proof of claims filed with the Court.


Objections Withdrawn

Approved:

_/s/ Thomas D. DeCarlo attorney for__                             /s/ Daniela Dimovski
Chapter 13 Standing Trustee                                       Daniela Dimovski (P60278)
David Wm Ruskin                                                   Attorney for Debtor(s)
1100 Travelers Tower                                              44200 Garfield Rd. Suite 124
26555 Evergreen Rd.                                               Clinton Township, MI 48038
Southfield, MI 48076                                              586-738-6329
248-352-7755

__/s/ ____Sarah Vorgitch___________________
Sarah Vorgitch P69878
Attorney for Financial Plus CU
24525 Harper Ave
Saint Clair Shores, MI 48080-1286




Signed on May 25, 2018




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